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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
THOMAS HOME CORPORATION

       VS                                                   CASE NO.    3:04cv342 RV/MD

REVE DEVELOPMENT CORPORATION, ET
AL

                                    REFERRAL AND ORDER

Referred to Magistrate Judge Davis on    May 9, 2005
Type of Motion/Pleading: MOTION TO COMPEL
Filed by: DEFENDANTS, REVE AND   on 5/6/05        Document 37
          NOEL
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
by plaintiff                     on 5/11/05       Doc.# 39
                                 on               Doc.#
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ Lynn C. Uhl
                                               Deputy Clerk: Lynn Uhl

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this 16th day of
May, 2005, that:
(a)    The requested relief is DENIED.
(b)    Defendants have not shown that requiring plaintiff to identify
       all lawsuits to which it has ever been a party, without regard to
       time, place, or subject matter (interrogatory number 7), has any
       relevance to the claims at issue, and the question is clearly
       overbroad. Also, the court is satisfied that plaintiff has
       appropriately answered interrogatory number 8.
(c)    Defendants’ counsel failed to consult with opposing counsel
       before filing the instant motion, as evidenced by his failure to
       file a Loc. R. 7.1(B) certificate.
(d)    Plaintiff is awarded $500 for its fees and costs for responding
       to a meritless motion to compel, to be paid by defendants’
       counsel. Either party may contest the award or the amount
       thereof by filing, within five (5) days, an appropriate motion
       with supporting documentation.

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:                                /s/   Miles Davis
                                               MILES DAVIS
                                               UNITED STATES MAGISTRATE JUDGE

                                Document No.
